                                                                                     dcavaleri@hnrklaw.com

                                                             May 19, 2023

                                        Application GRANTED. The Clerk of Court is respectfully directed
                                        to vacate the Order at Dkt. No. 584. Counsel for AMA Capital,
 VIA ECF                                LLC shall file a response to Plaintiff's motion for disbursement,
 Honorable Lorna G. Schofield           not to exceed ten pages, by June 2, 2023. Plaintiff shall file a
 United States District Court Judge     reply, not to exceed 6 pages, by June 9, 2023.
 Southern District of New York
 Thurgood Marshall U.S. Courthouse Dated: May 22, 2023
 40 Foley Square                          New York, New York
 New York, NY 10007

 Re:     Contant, et al. v. Bank of America Corp., et al., No. 17-cv-3139

Dear Judge Schofield,

        We, along with Scott Luskin from Payne & Fears LLP, represent AMA Capital, LLC
(“AMA”) in the above-captioned matter. We write with regard to Class Counsel’s recent Motion
for the Disbursement of Interest Income filed last night, May 18, 2023 (ECF 580), and concerning
a briefing schedule for the motion. We respectfully request that Your Honor rescind the order
granting such motion filed this afternoon to provide AMA the opportunity to consider Class
Counsel’s motion and file an opposition to address any issues.

        As part of the process to set a briefing schedule, we called the court clerk this morning to
inquire about the best way to address any potential opposition because Class Counsel filed a full
motion rather than a letter seeking a pre-motion conference (as provided by Your Honor’s rules),
and then spoke with Class Counsel later this morning to propose a standard briefing schedule that
we would memorialize with a letter to the Court. Our proposal to Class Counsel provided that any
opposition be filed on or before June 2, 2023, with any reply to be filed on or before June 9, 2023.
Following my conversation with Mr. Kane, I sent an email to Messrs. Dell’Angelo and Kane.
(Exhibit A).

       AMA respectfully requests an opportunity to present an opposition to Class Counsel’s
motion in accordance with the proposed briefing schedule.

       We thank Your Honor for your time and attention to this matter.

                                                             Respectfully submitted,



                                                             Damian R. Cavaleri
cc: All Counsel of Record
